
Upon consideration of the petition for discretionary review, filed by Defendants and Third-Party Plaintiffs on the 20th of January 2015 in this matter pursuant to G.S. 7A-31 and the Appellate Rule 16(b) as to issues in addition to those presented as the basis for the dissenting opinion in the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the petition for discretionary review as to additional issues is
"Denied by order of the Court in conference, this the 20th of August 2015."
Accordingly, only those issues which are the basis of the dissenting opinion in the Court of Appeals shall be presented to this Court in briefs. The Defendants and Third-Party Plaintiffs new brief so limited in scope shall be filed with this Court not more than 30 days from the date of certification of this order.
